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EXHIBIT 2
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        IN THE UNITED STATES DISTRICT COURT FOR THE
               NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

WILLIAM T. QUINN and DAVID CROSS,

           Plaintiffs,
                                             Case 1:24-cv-04364-SCJ
v.

BRAD RAFFENSPERGER, in his official
capacity as Secretary of State of Georgia,

           Defendant.



                 DECLARATION OF GERALD GRIGGS
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Pursuant to 28 U.S.C. § 1746, I, Gerald Griggs, declare:

      1.    I am over the age of 18 years, have personal knowledge of the matters

            stated herein, am competent to make this declaration, and would testify

            to the same if called as a witness in Court.

      2.    I am the President of the Georgia State Conference of the NAACP

            (“GA NAACP”) and I am authorized to speak for the GA NAACP in

            this matter.

      3.    The GA NAACP, a unit of the National NAACP founded in 1909, is

            the oldest and one of the largest, most significant organizations

            promoting and protecting the civil rights of African Americans and

            other racial and ethnic minorities in Georgia.

      4.    The GA NAACP is a non-partisan, interracial, nonprofit membership

            organization with a mission to “eliminate racial discrimination through

            democratic processes and ensure the equal political, educational, social,

            and economic rights of all persons, in particular African Americans.”

            Protecting and promoting the voting rights of Black voters, other voters

            of color, and underserved communities is essential to this mission.

      5.    In pursuit of its core mission, the GA NAACP engages in robust voter

            registration, voter education, and get-out-the-vote activities, expending

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      considerable resources towards ensuring that eligible voters in Georgia,

      particularly voters in traditionally disenfranchised communities, can

      exercise their right to vote.

6.    The GA NAACP is headquartered in College Park, GA. It has over 180

      branches and chapters throughout the State.

7.    At this time, based upon internal, confidential membership information,

      the GA NAACP has nearly 10,000 active members in Georgia.

8.    At this time, based upon GA NAACP’s confidential membership

      information, GA NAACP has members, including those that are

      registered voters, in at least 120 counties in Georgia.

9.    The GA NAACP membership is comprised of predominately Black and

      other minority individuals and includes registered voters who reside

      throughout the state.

10.   In advance of the November 2024 General Election, the GA NAACP

      has been holding get-out-the-vote events, registering prospective

      voters, advising their members and their broader constituents to check

      their voter registration, and planning their Souls-to-the-Polls programs.

11.   At this time, the GA NAACP has members who are registered to vote

      in many counties across Georgia and who are likely to cast ballots in

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      the upcoming November 5, 2024 General Election and any potential

      runoff election.

12.   Any new members that the GA NAACP has assisted in registering to

      vote in the past few months will also likely participate in the General

      Election and any runoff election that ensues.

13.   I am aware the Complaint filed by Mr. Quinn and Mr. Cross demands

      that the Georgia Secretary of State initiate list maintenance with respect

      to voters that Mr. Quinn and Mr. Cross allege have moved, and to do

      so before the November 5, 2024 General Election.

14.   Specifically, I am aware that Mr. Quinn and Mr. Cross demand that the

      Court order the Georgia Secretary of State to send notices to voters who

      they allege have moved and place those voters into inactive status on

      the voter rolls if they fail to respond within 30 days, also before the

      November 5, 2024 General Election.

15.   This is extremely concerning to me and the GA NAACP as we are so

      close to the General Election. If the relief Plaintiffs seek is granted, then

      I and the GA NAACP worry that voters who thought that they were

      properly registered to vote will find themselves facing unnecessary

      burdens on their right to vote after being incorrectly labeled as

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      ineligible by the data analysis that Mr. Quinn and Mr. Cross have

      allegedly done.

16.   I am worried that GA NAACP’s members and constituents will be

      confused about their eligibility to vote if they are suddenly moved into

      inactive status or receive notice that they may be ineligible in the weeks

      before the General Election, especially after the close of voter

      registration on October 7, 2024.

17.   This improper voter list maintenance demand would also frustrate GA

      NAACP’s mission. We have worked hard to assist Black Georgians and

      other prospective voters in registering to vote, educating them about

      voting and the electoral process, and now are planning to mobilize them

      to cast ballots at the polls. Last-minute list maintenance will introduce

      confusion and threaten all the hard work that we have done.

18.   We also have limited staff and volunteer resources to troubleshoot any

      issues that arise if the Secretary of State has to mail a large number of

      change-of-address notices to voters so close to the election. Our staff

      time was dedicated to registering, educating, and activating voters for

      the upcoming general election. But now, we would have to follow-up



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            with all impacted voters who may be confused or deterred from voting

            when they receive a mailing indicating they may not be eligible to vote.

     19.    These tasks would be challenging and resource-intensive, especially in

            our marginalized constituencies. Those vulnerable voters have less time

            and resources to navigate bureaucratic hurdles related to their voter

            registrations. To that end, GA NAACP’s resources will be stretched

            thin. We will not be able to conduct the same amount of affirmative

            voter engagement and registration activity in support of our core

            organizational functions as we normally would.

     20.    Our work relating to other initiatives in the criminal justice and

            economic justice spaces would also suffer as we would not have time

            to push that forward.

     I declare under penalty of perjury that the foregoing is true and correct to the

best of my knowledge.

     Executed this 2nd day off October 202
                                       2024
                                         24 in Atlanta,
                                            in Atlanta, Georgia.


                                ________________________________
                                  ______________________________

                                Gerald Griggs
                                President
                                Georgia State Conference of the NAACP

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